FORM VAN−093
REVISED 03/25/2011



                         UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF ARIZONA

In re:                                                    Case No.: 2:18−bk−01984−MCW

    RYAN JOSEPH PORTER                                    Chapter: 11
    24391 S 201ST PLACE
    QUEEN CREEK, AZ 85142
    SSAN: xxx−xx−6470
    EIN:

    LESLEY MARIE PORTER
    24391 S 201ST PLACE
    QUEEN CREEK, AZ 85142
    SSAN: xxx−xx−5855
    EIN:

Debtor(s)


                                      ORDER REINSTATING CASE

   The above−captioned Debtor(s) having filed a motion to reinstate this case pursuant to Bankruptcy Rule 9024; the
case having been dismissed because required documents were not filed, filing fees were not paid, or due to
administrative error. As Debtor(s) have now cured the deficiencies,

   IT IS ORDERED that this case is reinstated.

   NOTICE IS ALSO GIVEN that the order was entered on the docket this date.




Date: April 3, 2018                                       BY THE COURT



Address of the Bankruptcy Clerk's Office:                 HONORABLE Madeleine C. Wanslee
U.S. Bankruptcy Court, Arizona                            United States Bankruptcy Judge
230 North First Avenue, Suite 101
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
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